                                                                                    Case:05-04680-ESL7 Doc#:8-1 Filed:07/12/05 Entered:07/12/05 12:36:19 Desc:
                                                                             (Official Form 1) (12/03)     Schedule Amended Page 1 of 13
                                                                              FORM B1               United States Bankruptcy Court
                                                                                                        District of Puerto Rico                    Voluntary Petition

                                                                             Name of Debtor (if individual, enter Last, First, Middle):                            Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                              Rodriguez, Jose                                                                       Alvarado, Carmen
                                                                             All Other Names used by the Debtor in the last 6 years                                All Other Names used by the Joint Debtor in the last 6 years
                                                                             (include married, maiden, and trade names):                                           (include married, maiden, and trade names):
                                                                               None                                                                                 None

                                                                             Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No. Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No.
                                                                             (if more than one, state all): 5821                              (if more than one, state all): 7557
                                                                             Street Address of Debtor (No. & Street, City, State & Zip Code):                      Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                              Estancias de Tortuguero                                                               Estancias de Tortuguero
                                                                              371 Calle Tartago                                                                     371 Calle Tartago
                                                                              Vega Baja,PR 00693                                                                    Vega Baja,PR 00693

                                                                             County of Residence or of the                                                         County of Residence or of the
                                                                             Principal Place of Business:               Vega Baja                                  Principal Place of Business:           Vega Baja
                                                                             Mailing Address of Debtor (if different from street address):                         Mailing Address of Joint Debtor (if different from street address):




                                                                             Location of Principal Assets of Business Debtor                                       Attorney: Luisa S. Valle Castro, 215611
                                                                             (if different from street address above):
                                                                                                                                                                                 C. CONDE & ASSOC.
                                                                                                                                                                                 254 Calle de San José, Suite 5
                                                                                                                                                                                 San Juan, PR 00901-1523 ph: 787-729-2900
                                                                                                             Information Regarding the Debtor (Check the Applicable Boxes)
                                                                               Venue (Check any applicable box)
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                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                   preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                                                                                               Type of Debtor (Check all boxes that apply)
                                                                                                                                                                         Chapter or Section of Bankruptcy Code Under Which
                                                                                     Individual(s)                            Railroad
                                                                                                                                                                                  the Petition is Filed (Check one box)
                                                                                     Corporation                              Stockbroker
                                                                                                                                                                       Chapter 7             Chapter 11          Chapter 13
                                                                                     Partnership                              Commodity Broker
                                                                                                                                                                       Chapter 9                 Chapter 12
                                                                                     Other                                    Clearing Bank
                                                                                               Nature of Debts (Check one box)
                                                                                     Consumer/Non-Business                Business                                     Filing Fee (Check one box)
                                                                                                                                                                       Full Filing Fee attached
                                                                                      Chapter 11 Small Business (Check all boxes that apply)
                                                                                                                                                                       Filing Fee to be paid in installments (Applicable to individuals only)
                                                                                     Debtor is a small business as defined in 11 U.S.C. § 101                          Must attach signed application for the court's consideration
                                                                                     Debtor is and elects to be considered a small business under                      certifying that the debtor is unable to pay fee except in installments.
                                                                                     11 U.S.C. § 1121(e) (Optional)                                                    Rule 1006(b). See Official Form No. 3.
                                                                                                                                                                                                              THIS SPACE IS FOR COURT USE ONLY
                                                                                Statistical/Administrative Information (Estimates only)
                                                                                   Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                   Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
                                                                                   be no funds available for distribution to unsecured creditors.

                                                                                                                        1-15     16-49       50-99       100-199     200-999   1000-over
                                                                               Estimated Number of Creditors

                                                                               Estimated Assets
                                                                                 $0 to      $50,001 to   $100,001 to       $500,001 to   $1,000,001 to   $10,000,001 to   $50,000,001 to    More than
                                                                                $50,000      $100,000     $500,000          $1 million    $10 million     $50 million      $100 million    $100 million


                                                                               Estimated Debts
                                                                                 $0 to      $50,001 to    $100,001 to      $500,001 to   $1,000,001 to   $10,000,001 to   $50,000,001 to    More than
                                                                                $50,000      $100,000      $500,000         $1 million    $10 million     $50 million      $100 million    $100 million
                                                                                        Case:05-04680-ESL7
                                                                             (Official Form 1) (12/03)               Doc#:8-1 Filed:07/12/05 Entered:07/12/05 12:36:19 Desc:
                                                                                                                                                                       FORM B1, Page 2
                                                                             Voluntary Petition                         Schedule   Amended  Page    2  of
                                                                                                                                        Name of Debtor(s): 13
                                                                             (This page must be completed and filed in every case)         Jose Rodriguez & Carmen Alvarado
                                                                             Location             Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
                                                                                                                                                            Case Number:                             Date Filed:
                                                                             Where Filed:
                                                                                          Puerto Rico                                       01-07388 (ESL)                      June 27, 2001
                                                                                   Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                             Name of Debtor:                                                                Case Number:                             Date Filed:
                                                                                         None
                                                                                                                                                            Relationship:                            Judge:
                                                                             District:


                                                                                   Signature(s) of Debtor(s) (Individual/Joint)
                                                                                                                                               Signatures                                    Exhibit A
                                                                              I declare under penalty of perjury that the information provided in this            (To be completed if debtor is required to file periodic reports
                                                                              petition is true and correct.                                                       (e.g., forms 10K and 10Q) with the Securities and Exchange
                                                                              [If petitioner is an individual whose debts are primarily consumer debts            Commission pursuant to Section 13 or 15(d) of the Securities
                                                                              and has chosen to file under chapter 7] I am aware that I may proceed              Exchange Act of 1934 and is requesting relief under chapter 11)
                                                                              under chapter 7, 11, 12, or 13 of title 11, United States Code, understand          Exhibit A is attached and made a part of this petition.
                                                                              the relief available under each such chapter, and choose to proceed
                                                                              under chapter 7.
                                                                              I request relief in accordance with the chapter of title 11, United States                                     Exhibit B
                                                                              Code, specified in this petition.                                                             ((To be completed if debtor is an individual
                                                                                                                                                                            whose debts are primarily consumer debts)
                                                                                      /s/ Jose Rodriguez                                                    I, the attorney for the petitioner named in the foregoing petition, declare
                                                                               X                                                                            that I have informed the petitioner that [he or she] may proceed under
                                                                                 Signature of Debtor                                                        chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                                                                                                            explained the relief available under each such chapter.
                                                                               X      /s/ Carmen Alvarado
                                                                                 Signature of Joint Debtor
                                                                                                                                                            X     /s/ Luisa S. Valle Castro                   July 12, 2005
                                                                                                                                                               Signature of Attorney for Debtor(s)                      Date
                                                                                 Telephone Number (If not represented by attorney)
                                                                                      July 12, 2005                                                                                       Exhibit C
                                                                                 Date                                                                        Does the debtor own or have possession of any property that poses
                                                                                                                                                             or is alleged to pose a threat of imminent and identifiable harm to
                                                                                                   Signature of Attorney                                     public health or safety?
                                                                               X      /s/ Luisa S. Valle Castro                                                   Yes, and Exhibit C is attached and made a part of this petition.
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                                                                                   Signature of Attorney for Debtor(s)                                            No
                                                                                   LUISA S. VALLE CASTRO 215611                                                       Signature of Non-Attorney Petition Preparer
                                                                                   Printed Name of Attorney for Debtor(s)
                                                                                                                                                            I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
                                                                                   C. CONDE & ASSOC.                                                        § 110, that I prepared this document for compensation, and that I have
                                                                                   Firm Name                                                                provided the debtor with a copy of this document.
                                                                                   254 Calle de San José, Suite 5
                                                                                 Address
                                                                                                                                                               Printed Name of Bankruptcy Petition Preparer
                                                                                   San Juan, PR 00901-1523

                                                                                   787-729-2900                                                                Social Security Number (Required by 11 U.S.C. § 110(c).)
                                                                                 Telephone Number
                                                                                   July 12, 2005                                                               Address
                                                                                   Date

                                                                                      Signature of Debtor (Corporation/Partnership)                            Names and Social Security numbers of all other individuals who
                                                                               I declare under penalty of perjury that the information provided in this        prepared or assisted in preparing this document:
                                                                               petition is true and correct, and that I have been authorized to file this
                                                                               petition on behalf of the debtor.
                                                                               The debtor requests relief in accordance with the chapter of title 11,           If more than one person prepared this document, attach
                                                                               United States Code, specified in this petition.                                  additional sheets conforming to the appropriate official form for
                                                                                                                                                                each person.
                                                                               X
                                                                                   Signature of Authorized Individual
                                                                                                                                                             X
                                                                                                                                                               Signature of Bankruptcy Petition Preparer
                                                                                 Printed Name of Authorized Individual
                                                                                                                                                               Date
                                                                                 Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions
                                                                                                                                                             of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                 Date                                                                        in fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                        Case:05-04680-ESL7 Doc#:8-1 Filed:07/12/05 Entered:07/12/05 12:36:19                                           Desc:
                                                                                                             Schedule Amended Page 3 of 13
                                                                             FORM B6B
                                                                             (10/89)
                                                                                        Jose Rodriguez Rosa & Carmen Alvarado                                                       05-04680
                                                                               In re    Torres                                                                           Case No.
                                                                                                                    Debtor                                                               (if known)



                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in
                                                                             one or more of the categories, place an "X" in the appropriate position in the column labeled "None." If additional space
                                                                             is needed in any category, attach a separate sheet properly identified with the case name, case number, and the
                                                                             number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an
                                                                             "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
                                                                             petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                               Do not list interests in executory contracts and unexpired leases on this schedule.                   List them in Schedule G-
                                                                             Executory Contracts and Unexpired Leases.

                                                                               If the property is being held for the debtor by someone else, state that person's name and address under "Description
                                                                             and Location of Property."



                                                                                                                                                                                                      CURRENT
                                                                                                                                                                                                  MARKET VALUE OF
                                                                                                                                              DESCRIPTION AND LOCATION                           DEBTOR'S INTEREST
                                                                                        TYPE OF PROPERTY
                                                                                                                                                     OF PROPERTY                                 IN PROPERTY WITH-
                                                                                                                                                                                                 OUT DEDUCTING ANY
                                                                                                                                                                                                   SECURED CLAIM
                                                                                                                                                                                                    OR EXEMPTION




                                                                              1.   Cash on hand.
                                                                                                                                 Cash                                                J                     100.00
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                                                                              2. Checking, savings or other
                                                                              financial accounts, certificates of
                                                                                                                                 Doral Bank                                          W                     685.00
                                                                              deposit, or shares in banks, savings
                                                                              and loan, thrift, building and loan, and
                                                                                                                                 Doral Bank
                                                                              homestead associations, or credit                  Vega Alta Branch
                                                                              unions, brokerage houses, or                       Checking Account 2000034922
                                                                              cooperatives.




                                                                              3. Security deposits with public               X
                                                                              utilities, telephone companies,
                                                                              landlords, and others.

                                                                              4. Household goods and furnishings,
                                                                              including audio, video, and computer
                                                                                                                                 Furnishing                                          J                   3,000.00
                                                                              equipment.
                                                                                                                                 3 Bedroom set, living room set,dining
                                                                                                                                 room set,



                                                                              5. Books. Pictures and other art               X
                                                                              objects, antiques, stamp, coin, record,
                                                                              tape, compact disc, and other
                                                                              collections or collectibles.

                                                                              6.   Wearing apparel.
                                                                                                                                 Wearing apparel                                     J                     400.00
                                                                                         Case:05-04680-ESL7 Doc#:8-1 Filed:07/12/05 Entered:07/12/05 12:36:19                               Desc:
                                                                                                              Schedule Amended Page 4 of 13
                                                                             FORM B6B
                                                                             (10/89)
                                                                                        Jose Rodriguez Rosa & Carmen Alvarado                                            05-04680
                                                                              In re                                                                           Case No.
                                                                                        Torres           Debtor                                                               (if known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)

                                                                                                                                                                                           CURRENT
                                                                                                                                                                                       MARKET VALUE OF
                                                                                                                                   DESCRIPTION AND LOCATION                           DEBTOR'S INTEREST
                                                                                        TYPE OF PROPERTY
                                                                                                                                          OF PROPERTY                                 IN PROPERTY WITH-
                                                                                                                                                                                      OUT DEDUCTING ANY
                                                                                                                                                                                        SECURED CLAIM
                                                                                                                                                                                         OR EXEMPTION



                                                                              7.   Furs and jewelry.                       X
                                                                              8. Firearms and sports, photographic,        X
                                                                              and other hobby equipment.

                                                                              9. Interests in insurance policies.          X
                                                                              Name insurance company of each
                                                                              policy and itemize surrender or refund
                                                                              value of each.

                                                                              10. Annuities. Itemize and name each         X
                                                                              issuer.

                                                                              11. Interests in IRA, ERISA, Keogh, or       X
                                                                              other pension or profit sharing plans.
                                                                              Itemize.

                                                                              12. Stock and interests in incorporated      X
                                                                              and unincorporated businesses.
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                                                                              Itemize.

                                                                              13. Interests in partnerships or joint       X
                                                                              ventures. Itemize.

                                                                              14. Government and corporate bonds           X
                                                                              and other negotiable and
                                                                              non-negotiable instruments.

                                                                              15. Accounts receivable.                     X
                                                                              16. Alimony, maintenance, support,           X
                                                                              and property settlement to which the
                                                                              debtor is or may be entitled. Give
                                                                              particulars.

                                                                              17. Other liquidated debts owing             X
                                                                              debtor including tax refunds. Give
                                                                              particulars.

                                                                              18. Equitable or future interests, life      X
                                                                              estates, and rights or powers
                                                                              exercisable for the benefit of the debtor
                                                                              other than those listed in Schedule of
                                                                              Real Property.

                                                                              19. Contingent and noncontingent             X
                                                                              interests in estate or a decedent, death
                                                                              benefit plan, life insurance policy, or
                                                                              trust.
                                                                                        Case:05-04680-ESL7 Doc#:8-1 Filed:07/12/05 Entered:07/12/05 12:36:19                                             Desc:
                                                                                                             Schedule Amended Page 5 of 13
                                                                             FORM B6B
                                                                             (10/89)
                                                                                        Jose Rodriguez Rosa & Carmen Alvarado                                                   05-04680
                                                                              In re                                                                                  Case No.
                                                                                        Torres           Debtor                                                                          (if known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)

                                                                                                                                                                                                      CURRENT
                                                                                                                                                                                                  MARKET VALUE OF
                                                                                                                                         DESCRIPTION AND LOCATION                                DEBTOR'S INTEREST
                                                                                        TYPE OF PROPERTY
                                                                                                                                                OF PROPERTY                                      IN PROPERTY WITH-
                                                                                                                                                                                                 OUT DEDUCTING ANY
                                                                                                                                                                                                   SECURED CLAIM
                                                                                                                                                                                                    OR EXEMPTION



                                                                              20. Other contingent and unliquidated       X
                                                                              claims of every nature, including tax
                                                                              refunds, counterclaims of the debtor,
                                                                              and rights of setoff claims. Give
                                                                              estimated value of each.

                                                                              21. Patents, copyrights, and other          X
                                                                              intellectual property. Give particulars.

                                                                              22. Licenses, franchises, and other         X
                                                                              general intangibles. Give particulars.

                                                                              23. Automobiles, trucks, trailers, and
                                                                              other vehicles and accessories.
                                                                                                                              Dodge 1999                                             J                      5,000.00

                                                                                                                              Dodge 2005                                             J                           0.00
                                                                                                                              (Surrendered post petition)
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                                                                              24. Boats, motors, and accessories.         X
                                                                              25. Aircraft and accessories.               X
                                                                              26. Office equipment, furnishings, and      X
                                                                              supplies.

                                                                              27. Machinery, fixtures, equipment,         X
                                                                              and supplies used in business.

                                                                              28. Inventory.                              X
                                                                              29. Animals.                                X
                                                                              30. Crops - growing or harvested. Give      X
                                                                              particulars.

                                                                              31. Farming equipment and                   X
                                                                              implements.

                                                                              32. Farm supplies, chemicals, and           X
                                                                              feed.

                                                                              33. Other personal property of any kind     X
                                                                              not already listed.




                                                                                                                                  0
                                                                                                                                      continuation sheets attached               Total      $               9,185.00

                                                                                                                                                                                         (Include amounts from any continuation
                                                                                                                                                                                         sheets attached. Report total also on
                                                                                                                                                                                         Summary of Schedules)
                                                                              Case:05-04680-ESL7 Doc#:8-1 Filed:07/12/05 Entered:07/12/05 12:36:19                                                             Desc:
                                                                                                   Schedule Amended Page 6 of 13



                                                                             Form 7
                                                                             (12/03)                          FORM 7. STATEMENT OF FINANCIAL AFFAIRS

                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                            DISTRICT OF PUERTO RICO

                                                                                     Jose Rodriguez Rosa & Carmen Alvarado
                                                                                     Torres
                                                                             In Re                                                                   Case No.             05-04680
                                                                                                    (Name)                                                                            (if known)
                                                                                                                      Debtor

                                                                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                    This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the
                                                                             information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                             information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                             filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional,
                                                                             should provide the information requested on this statement concerning all such activities as well as the individual's personal affairs.

                                                                                     Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                             must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                             space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case
                                                                             number (if known), and the number of the question.


                                                                                                                                  DEFINITIONS
                                                                                  "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                             individual debtor is "in business" for the purpose of this form if the debtor is or has been, within the six years immediately
                                                                             preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5
                                                                             percent or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a
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                                                                             sole proprietor or self-employed.

                                                                                   "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their
                                                                             relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                             percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                             such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.




                                                                                       1.   Income from employment or operation of business

                                                                             None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation
                                                                                       of the debtor's business from the beginning of this calendar year to the date this case was commenced. State also the
                                                                                       gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or
                                                                                       has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income.
                                                                                       Identify the beginning and ending dates of the debtor's fiscal year) If a joint petition is filed, state income for each
                                                                                       spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses
                                                                                       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                        AMOUNT                                              SOURCE (if more than one)

                                                                                 2005(H)                        To be provided

                                                                                 2004(H)                        To be provided

                                                                                 2003(H)                        To be provided



                                                                                 2005(W)
                                                                              Case:05-04680-ESL7 Doc#:8-1 Filed:07/12/05 Entered:07/12/05 12:36:19                                                        Desc:
                                                                                                   Schedule Amended Page 7 of 13


                                                                                    AMOUNT                                             SOURCE (if more than one)

                                                                                2004(W)

                                                                                2003(W)

                                                                                    2.   Income other than from employment or operation of business

                                                                             None   State the amount of income received by the debtor other than from employment, trade, profession, or operation of
                                                                                    the debtor's business during the two years immediately preceding the commencement of this case. Give particulars.
                                                                                    If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter
                                                                                    13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                    joint petition is not filed.)

                                                                                     AMOUNT                                                              SOURCE


                                                                                    3.   Payments to Creditors

                                                                             None   a.     List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than
                                                                                    $600 to any creditor, made within 90 days immediately preceding the commencement of this case. (Married debtors
                                                                                    filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition
                                                                                    is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                              NAME AND ADDRESS OF CREDITOR                             DATES OF                            AMOUNT               AMOUNT STILL
                                                                                                                                       PAYMENTS                              PAID                  OWING



                                                                             None   b.     List all payments made within one year immediately preceding the commencement of this case to or for the
                                                                                    benefit of creditors, who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include
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                                                                                    payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                                    petition is not filed.)


                                                                              NAME AND ADDRESS OF CREDITOR                             DATES OF                       AMOUNT PAID             AMOUNT STILL
                                                                               AND RELATIONSHIP TO DEBTOR                              PAYMENTS                                                  OWING


                                                                                    4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                             None   a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                    preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                    information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                    and a joint petition is not filed.)


                                                                              CAPTION OF SUIT               NATURE OF PROCEEDING                           COURT OR                                STATUS OR
                                                                             AND CASE NUMBER                                                          AGENCY AND LOCATION                          DISPOSITION


                                                                             Ortho                       Estorbo, Articulo 19 de la Ley                  Court of First Instance of            Pending closing
                                                                             Pharmaceutical et           sobre Politica Publica                          Puerto Rico                           of case
                                                                             als                         Ambiental, Daños y                              Arecibo Part
                                                                             vs.                         Perjuicios e Injunction
                                                                             Jose Rodriguez et           Preliminar y Permanente
                                                                             als.
                                                                             Case No. CPE
                                                                             98-0256
                                                                              Case:05-04680-ESL7 Doc#:8-1 Filed:07/12/05 Entered:07/12/05 12:36:19                                                          Desc:
                                                                                                   Schedule Amended Page 8 of 13
                                                                              CAPTION OF SUIT                NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                             AND CASE NUMBER                                                            AGENCY AND LOCATION                          DISPOSITION


                                                                             Recauchamiento               Collection of Moneys                            Court of First Instance of             Initial
                                                                             del Norte, Inc.                                                              Puerto Rico                            Proceeding
                                                                             vs.                                                                          San Juan Part
                                                                             Jose Rodriguez
                                                                             Agregados de
                                                                             Hormigon
                                                                             Case No.
                                                                             KICD05-1202

                                                                             Cabrera Geigel,              Procedimiento Sumario, Ley                      Court of First Instance of             Initial
                                                                             Jose                         2 Despido Injustificado,                        Puerto Rico                            Proceedings
                                                                             vs.                          Vacaciones, Bonos, Horas                        Arecibo Part
                                                                             Agregados de                 Extras y Otros
                                                                             Hormigon, Inc.
                                                                             Case No.
                                                                             DPE2004-1091


                                                                             None    b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                     one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                     13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                     unless the spouses are separated and a joint petition is not filed.)


                                                                                NAME AND ADDRESS OF                                        DATE OF                                        DESCRIPTION AND
                                                                              PERSON FOR WHOSE BENEFIT                                     SEIZURE                                       VALUE OF PROPERTY
                                                                                PROPERTY WAS SEIZED
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                                                                                     5.   Repossessions, foreclosures and returns

                                                                             None    List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu
                                                                                     of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                     both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                 NAME AND                                 DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                ADDRESS OF                                 FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                             CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                             General Electric                                                                                      Mack/Diesel 85
                                                                             PO Box 11902                                                                                          Ken Well C-500
                                                                             Caparra Heights,PR 00922                                                                              Sumit trailer


                                                                                     6. Assignments and Receiverships

                                                                             None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                     assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                     joint petition is not filed.)


                                                                                     NAME AND                                    DATE OF ASSIGNMENT                                   TERMS OF
                                                                                    ADDRESS OF                                                                                       ASSIGNMENT
                                                                                      ASSIGNEE                                                                                      OR SETTLEMENT
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                                                                             None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                     year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                     must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                     the spouses are separated and a joint petition is not filed.)


                                                                                     NAME AND                          NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                    ADDRESS OF                         OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                    CUSTODIAN                               & NUMBER



                                                                                     7.   Gifts

                                                                             None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this case,
                                                                                     except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
                                                                                     and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
                                                                                     chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
                                                                                     the spouses are separated and a joint petition is not filed.)


                                                                                    NAME AND                            RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                   ADDRESS OF                         TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                             PERSON OR ORGANIZATION


                                                                                     8.   Losses

                                                                             None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
                                                                                     of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                     include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
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                                                                                     joint petition is not filed.)


                                                                                DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                 AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                OF PROPERTY                                   INSURANCE, GIVE PARTICULARS


                                                                                     9.   Payments related to debt counseling or bankruptcy

                                                                             None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
                                                                                     consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
                                                                                     within one year immediately preceding the commencement of this case.


                                                                                      NAME AND ADDRESS                          DATE OF PAYMENT,                               AMOUNT OF MONEY OR
                                                                                          OF PAYEE                              NAME OF PAYOR IF                                 DESCRIPTION AND
                                                                                                                               OTHER THAN DEBTOR                                VALUE OF PROPERTY


                                                                             Carmen D. Conde Torres                      10/28/04                                         $2,000.00
                                                                             254 Calle San José, Suite 5
                                                                             San Juan, PR 00901-1523
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                                                                                      10. Other transfers

                                                                             None     List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
                                                                                      debtor, transferred either absolutely or as security within one year immediately preceding the commencement of this
                                                                                      case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                      whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                NAME AND ADDRESS OF TRANSFEREE,                                      DATE                             DESCRIBE PROPERTY
                                                                                    RELATIONSHIP TO DEBTOR                                                                             TRANSFERRED AND
                                                                                                                                                                                        VALUE RECEIVED


                                                                                      11. Closed financial accounts

                                                                             None     List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
                                                                                      closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                      Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                      accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                      institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                      instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                      and a joint petition is not filed.)


                                                                                      NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                          AMOUNT AND
                                                                                     ADDRESS OF                           DIGITS OF ACCOUNT NUMBER,                                           DATE OF SALE
                                                                                     INSTITUTION                         AND AMOUNT OF FINAL BALANCE                                           OR CLOSING


                                                                               Banco Popular                          Checking Account                                            On or about
                                                                               Cilaes Branch                          Account No. 063070642                                       November 2004
                                                                                                                      Closed by Bank
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                                                                                                                      Closing Balance: 0.00


                                                                                      12. Safe deposit boxes

                                                                             None     List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
                                                                                      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                      chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
                                                                                      the spouses are separated and a joint petition is not filed.)


                                                                                         NAME AND                      NAMES AND ADDRESSES OF                     DESCRIPTION OF               DATE OF
                                                                                      ADDRESS OF BANK                 THOSE WITH ACCESS TO BOX                      CONTENTS                 TRANSFER OR
                                                                                    OR OTHER DEPOSITORY                    OR DEPOSITORY                                                   SURRENDER, IF ANY


                                                                                      13. Setoffs

                                                                             None     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                      information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                      and a joint petition is not filed.)


                                                                                    NAME AND ADDRESS OF CREDITOR                                   DATE                                   AMOUNT
                                                                                                                                                    OF                                       OF
                                                                                                                                                  SETOFF                                   SETOFF
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                                                                                     14. Property held for another person

                                                                             None    List all property owned by another person that the debtor holds or controls.


                                                                                       NAME AND                              DESCRIPTION AND                             LOCATION OF PROPERTY
                                                                                    ADDRESS OF OWNER                        VALUE OF PROPERTY


                                                                                     15. Prior address of debtor
                                                                             None
                                                                                     If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises
                                                                                     which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition
                                                                                     is filed, report also any separate address of either spouse.


                                                                                    ADDRESS                                          NAME USED                                   DATES OF OCCUPANCY



                                                                                     16. Spouses and Former Spouses
                                                                             None
                                                                                     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                     the six-year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse
                                                                                     and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                  NAME


                                                                                     17. Environmental Sites
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                                                                                     For the purpose of this question, the following definitions apply:

                                                                                     "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                     releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                     other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                     wastes, or material.

                                                                                               "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                               presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                               hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                             None
                                                                                     a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit
                                                                                     that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental
                                                                                     unit, the date of the notice, and, if known, the Environmental Law:


                                                                                     SITE NAME                        NAME AND ADDRESS                          DATE OF                ENVIRONMENTAL
                                                                                    AND ADDRESS                     OF GOVERNMENTAL UNIT                        NOTICE                      LAW
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                                                                                     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
                                                                                     Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                             None

                                                                                     SITE NAME                        NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                    AND ADDRESS                     OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
                                                                                     respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a
                                                                             None    party to the proceeding, and the docket number.


                                                                                      NAME AND ADDRESS                                 DOCKET NUMBER                             STATUS OR DISPOSITION
                                                                                    OF GOVERNMENTAL UNIT


                                                                                     18. Nature, location and name of business

                                                                             None    a.        If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                     businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                     managing executive of a corporation, partnership, sole proprietorship, or was a self-employed professional within the
                                                                                     six years immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of
                                                                                     the voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                               businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
                                                                                               percent or more of the voting or equity securities, within the six years immediately preceding the
                                                                                               commencement of this case.

                                                                                                    If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                               businesses, and beginning and ending dates of all businesses in which the debtor was a partner or owned 5
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                                                                                               percent or more of the voting or equity securities within the six years immediately preceding the
                                                                                               commencement of this case.

                                                                              NAME                     TAXPAYER                       ADDRESS                NATURE OF BUSINESS BEGINNING AND
                                                                                                      I.D. NO. (EIN)                                                            ENDING DATES


                                                                             Agregados de              660544371                 Estancias de                     Extraction of                June
                                                                             Hormigon                                            Tortuguero                       aggregate                    2000-October
                                                                                                                                 371 Tartago                      material                     2004
                                                                                                                                 Veva Baja, PR 00693


                                                                                     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                     U.S.C. § 101.
                                                                             None

                                                                                     NAME                                                                                ADDRESS




                                                                                                 [Questions 19 - 25 are not applicable to this case]
                                                                                                                       *    *     *    *   *    *
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                                                                                         [If completed by an individual or individual and spouse]

                                                                                         I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                         thereto and that they are true and correct.

                                                                             Date        July 12, 2005                                                   Signature                 /s/ Jose Rodriguez
                                                                                                                                                         of Debtor                 JOSE RODRIGUEZ

                                                                             Date        July 12, 2005                                                   Signature                 /s/ Carmen Alvarado
                                                                                                                                                         of Joint Debtor           CARMEN ALVARADO

                                                                             -------------------------------------------------------------------------
                                                                                                   CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.§110, that I prepared this document for compensation, and that I have provided
                                                                             the debtor with a copy of this document.


                                                                             Printed or Typed Name of Bankruptcy Petition Preparer                                                     Social Security No.
                                                                                                                                                                                       (Required by 11 U.S.C. § 110(c).)



                                                                             Address
                                                                             Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                             X
                                                                             Signature of Bankruptcy Petition Preparer                                                                               Date
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                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both.
                                                                             11 U.S.C. § 110; 18 U.S.C. §156.
                                                                             -------------------------------------------------------------------------




                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                _____


                                                                                                Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571
